               Case 2:21-cv-08230-JAK-E Document 18 Filed 10/25/21 Page 1 of 6 Page ID #:203
Name and address:
 Ronald Abramson
 LISTON ABRAMSON LLP
 The Chrysler Building
 405 Lexington Avenue, 46th Floor
 New York, NY 10174
                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

   WAG ACQUISITION L.L.C.,                                                  CASE NUMBER

                                                         Plaintiff(s),                         2:21-cv-08230-JAK-E
                  v.
  THE WALT DISNEY COMPANY and                                                 APPLICATION OF NON-RESIDENT ATTORNEY
  DISNEY STREAMING SERVICES LLC,                                                    TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
  Abramson, Ronald
Applicant's Name (Last Name, First Name & Middle Initial)                                          check here if federal government attorney
 Liston Abramson LLP
Firm/Agency Name
 The Chrysler Building                                                     (212) 257-1643                          (917) 633-5568
   405 Lexington Avenue, 46th Floor                                      Telephone Number                      Fax Number
Street Address
  New York, NY 10174
                                                                                 ronald.abramson@listonabramson.com
City, State, Zip Code                                                                            E-mail Address

I have been retained to represent the following parties:
      WAG Acquisition L.L.C.                                              x Plaintiff(s)    Defendant(s)      Other:
                                                                            Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                        Date of Admission             Active Member in Good Standing? (if not, please explain)
     Eastern District of New York                        8/1/1978                                          Yes
   Southern District of New York                         8/1/1978                                            Yes
    District of New Jersey                               12/9/1976                                           Yes


G-64 (09/20)                 APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                            Page 1 of 3
      Case 2:21-cv-08230-JAK-E Document 18 Filed 10/25/21 Page 2 of 6 Page ID #:204
   List all cases in which the applicant has applied to this Court for pro hac vicestatus in the previous three years (continue in Section IV if
   needed):
           CaseNumber                                    Title o{Action                            Date ofApplication          Granted I Denied?
      19-cv-0706                    WAG Acguisition L.L.C. v. Multi Media, LLC, et al.              10/2/2019                  ~anted




   If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




 Attorneys must be registeredfor the Court's electronicfiling system to practice pro hac vice in this Court. Submission
 of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Orde1
 granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
 privileges in the Central District of California.

               SECTION II - CERTIFICATION

               I declare under penalty of perjury that:

               ( 1) All of the above information is true and correct.
               (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
                    substantial business, professional, or other activities in the State of California.
               (3) I am not currently suspended from and have never been disbarred from practice in any court.
               (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
                    Criminal Procedure, and the Federal Rules of Evidence.
               (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
                   of this Court and maintains an office in the Central District of California for the practice of law, in
                   which the attorney is physically present on a regular basis to conduct business, as local counsel
                   pursuant to Local Rule 83-2.1.3.4.

                Dated   Oct. 22, 2021




G-64 (09/20)                APPLICATIONOP NON-RESIDENTATTORNEYTO APPEARIN A SPECIFICCASEPRO HAC VICE                                    Page2 of3
               Case 2:21-cv-08230-JAK-E Document 18 Filed 10/25/21 Page 3 of 6 Page ID #:205

SECTION III - DESIGNATION OF LOCAL COUNSEL
    White, William A.
Designee's Name (Last Name, First Name & Middle Initial)
   Hill, Farrer & Burrill LLP
Firm/Agency Name
  One California Plaza, 37th Floor                                    (213) 621-0816                            (213) 624-4840
  300 South Grand Avenue                                             Telephone Number                         Fax Number
Street Address                                                          wwhite@hillfarrer.com
   Los Angeles, CA 90071                                             Email Address
City, State, Zip Code
                                                                     Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated   10/25/2021                                       William A. White
                                                                     Designee's Name (please type or print)


                                                                     Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

       Name of Court:                           Date of Admission:                     Active Member in Good Standing:

       State of New Jersey                           12/9/1976                          Yes
       U.S. Court of Appeals, Federal Circuit        10/26/1994                         Yes
       U.S. Supreme Court                            6/12/1981                          Yes
       State of New York                             6/28/1978                          Yes
       U.S. Court of Appeals, Second Circuit         12/22/1980                         Yes




G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                        Page 3 of 3
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             Appellate Division of the Supreme Court
                       of the State of New York
                      First Judicial Department


       I, Susanna M. Rojas, Clerk of the Appellate Division of the
 Supreme Court of the State of New York, First Judicial
 Department, do hereby certify that

                         Ronald Abramson
 was duly licensed and admitted to practice as an Attorney and
 Counselor at Law in all the courts of this State on June 28, 1978,
 has duly taken and subscribed the oath of office prescribed by law,
 has been enrolled in the Roll of Attorneys and Counselors at Law
 on file in this office, is duly registered with the Administration
 Office of the Courts, and according to the records of this Court is
 currently in good standing as an Attorney and Counselor-at-Law.



                               In Witness Whereof, I have hereunto set
                               my hand in the City of New York on
                               October 20, 2021.




                                          Clerk of the Court




 CertID-00037081
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                    Supreme Court of the State of New York
                     Appellate Division, First Department
                                              ROLANDO T. ACOSTA
                                                 PRESIDING JUSTICE
   SUSANNA MOLINA ROJAS                                                                 MARGARET SOWAH
       CLERK OF THE COURT                                                               DEPUTY CLERK OF THE COURT




 To Whom It May Concern


        An attorney admitted to practice by this Court may request a certificate of good
 standing, which is the only official document this Court issues certifying to an
 attorney's admission and good standing.


        An attorney's registration status, date of admission and disciplinary history may
 be viewed through the attorney search feature on the website of the Unified Court
 System.


        New York State does not register attorneys as active or inactive.


       An attorney may request a disciplinary history letter from the Attorney
 Grievance Committee of the First Judicial Department.


      Bar examination history is available from the New York State Board of Law
 Examiners.


        Instructions, forms and links are available on this Court's website.




                                                             Susanna Rojas
                                                             Clerk of the Court




 Revised October 2020



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                       TEL.: (212) 340 0400    INTERNET: WWW.NYCOURTS.GOV/COURTS/AD1/
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